 Case 1:15-cr-00213-SJ Document 117 Filed 06/13/19 Page 1 of 1 PageID #: 681
                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
CRH                                                  271 Cadman Plaza East
F. #2014R00196                                       Brooklyn, New York 11201


                                                     June 13, 2019
By E-mail and ECF

Charles D. Swift, Esq.
833 E Arapaho Rd, Suite 102
Richardson, TX 75081
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                 Re:    United States v. Asia Siddiqui
                        Criminal Docket No. 15-213 (SJ)

Dear Counsel:

               We write in response to your letter of April 29, 2019, in which you requested
that the government reproduce certain discovery, which was previously turned over, because
you have lost access to those files as the result of a malware attack. The government hereby
reproduces the Bates-stamped discovery listed below. A more detailed description of the
individual items that corresponds with their Bates numbers can be found in the original
discovery production letters that were provided to you.

Reproduced Discovery

      •   Velentzas 000001 - 002232
      •   Siddiqui 000001 - 000033
      •   Siddiqui 000645 - 000748
      •   VS0035001

                 Please contact us if you have any further questions.

                                                     Very truly yours,

                                                     RICHARD P. DONOGHUE
                                                     United States Attorney

                                              By:       /s/
                                                     Craig R. Heeren
                                                     Jonathan E. Algor
                                                     Assistant U.S. Attorney
                                                     (718) 254-7000
cc:       Clerk of Court (SJ)
